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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF OKLAHOMA

(1) Prime Aircraft & Aviation, LLC,             )
                                                )
                        Plaintiff,              )
        vs.                                     )       Case No. 23 cv-000872-R
                                                )
(1) Aerovanti Aircraft LLC                      )
(2) Aerovanti Brokerage, Inc.                   )
(3) Patrick T. Britton-Harr                     )
(4) Aerovanti, Inc.                             )
                                                )
                        Defendants.             )

      PLAINTIFF’S MOTION FOR CLERK’S DEFAULT AGAINST DEFENDANT
                           AREOVANTI, INC.

        Plaintiff, Prime Aircraft & Aviation, LLC (the “Plaintiff”), for its Motion for Clerk’s

Default against Defendant Areovanti, Inc. pursuant to Rule 55(a) of the Federal Rules of Civil

Procedure and LCvR55, states as follows:

        1.      On October 3, 2023, the Plaintiff filed its Complaint (the “Complaint”)

[Doc. 1] alleging recission, breach of contract, material misrepresentation/ fraud in the

inducement and fraud against Defendant Aerovanti, Inc. (the “Defendant”).

        2.      On October 18, 2023, the Defendant was validly served with the

Summons and Complaint [Doc. 7].

        3.      Pursuant to Rule 12(a) of the Federal Rules of Civil Procedure, Defendant

was required to respond to the Complaint within twenty-one (21) days of being served

with the Summons and Complaint. See F.R. Civ. P. 12(a).

        4.      As a result, the response to Plaintiff’s Complaint was due to be filed on

behalf of the Defendant on or before November 8, 2023.

        5.      Defendant has failed to plead in or defend this proceeding and is in default
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under Federal Rule of Civil Procedure 55(a). As such, the matters alleged in the Complaint

are deemed true and Plaintiff should be granted an entry of default against Defendant.

        6.      Defendant is a limited liability company and therefore is neither an

individual who may be serving in the military, an infant, nor an incompetent person.

        7.      Accordingly, as Defendant was properly served on October 18, 2023, in

compliance with the Federal Rules of Civil Procedure, and more than 21 days have since

passed and Defendant has failed to respond to the Complaint or otherwise appear, entry

of default against Defendant, Areovanti, Inc., is appropriate. Fed. R. Civ. P. 12

(a)(1)(A)(i).

        WHEREFORE, the Plaintiff, Prime Aircraft & Aviation, LLC, respectfully requests

 that the Clerk entered a default against the Defendant, Areovanti, Inc. in accordance with

 Rule 55(a) of the Federal Rules of Civil Procedure, for failure to file or serve any paper or

 otherwise appear in this action, as required by law.

        Dated this 15th day of November 2023.

                                               Respectfully submitted,

                                               s/Craig E. Brown
                                               Craig E. Brown, OBA No. 17517
                                               Evan A. McCormick, OBA No. 30639
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                                               ATTORNEYS FOR THE PLAINITFF




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 15th day of November, 2023, a true and
correct copy of the foregoing was electronically served on the participants in the CM/ECF
system in the above case.

        Further, I caused a true and correct copy of the above and foregoing document to be
placed in the United States Mail in Oklahoma City, Oklahoma, with correct postage thereon
prepaid addressed to:

       Aerovanti, Inc.
       c/o The Corporation Trust Company
       Corporation Trust Center
       1209 Orange Street
       Wilmington, DE 19801


                                                     /s/ Craig E. Brown
                                                     Craig E. Brown




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